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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA

        v.
                                                           Criminal No.: 16-CR-10343-ADB
MICHAEL J. GURRY, et al.,

        Defendants.


 DEFENDANTS’ ASSENTED-TO MOTION FOR LEAVE TO FILE REPLY BRIEFING
     IN SUPPORT OF THEIR MOTIONS FOR ACQUITTAL AND NEW TRIAL

       Pursuant to Local Rule 7.1(b)(3), the undersigned Defendants hereby request leave to

submit reply briefing in support of their Motions for Acquittal and New Trial (Dkt. Nos. 859–64)

by August 26, 2019. Defendants’ are mindful of the combined length of their opening briefs and

the government’s consolidated response in opposition (Dkt. No. 936). Defendants will not use

the reply briefing to rehash their opening briefs, but to answer the arguments and evidence raised

in the government’s response. Such briefing will materially assist the Court in resolving the

complex issued raised by the post-trial motions. Defendants have not yet decided whether they

will seek to consolidate the replies into a single brief or submit separate replies that correspond

to the particular motions.

       Due in part to scheduling constraints for their counsel, Defendants request a due date of

August 26, 2019 for the reply briefing.

       Defendants have conferred with counsel for the government, who consent to this request

for leave, including to the requested August 26, 2019 filing date.
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Dated: August 1, 2019                    Respectfully submitted,

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                          LOCAL RULE 7.1 CERTIFICATION

       Pursuant to Local Rule 7.1(a)(2), I hereby certify that counsel for Defendants and the
government have conferred and that counsel for the government assent to Defendants’
request.


                                                   /s/ Kosta S. Stojilkovic
                                                   Kosta S. Stojilkovic
                                                   Counsel for Dr. John Kapoor


                                CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document will be served on all counsel of record
through the ECF system.


                                                   /s/ Kosta S. Stojilkovic
                                                   Kosta S. Stojilkovic
                                                   Counsel for Dr. John Kapoor




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